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                        IN THE UNITED STATE DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

Melanie Hogan Sluder et al.,                            )
                                                        )
                Plaintiffs,                             )       Case No. 4:24-cv-00181
                                                        )
v.                                                      )       Judge: William M. Ray, II
                                                        )
Rebecka Phillips, et al,                                )       Magistrate Judge: Mark A. Beatty
                                                        )
Defendants.                                             )


     Plaintiffs’ Motion for Extension to Reply to Defendants’ Motions for Stay Discovery

        Plaintiffs, by and through their attorneys, move this Honorable Court to allow five additional

days to respond to Defendants’ Motions to Stay Discovery, ECFs 86, 88, 92.

        Defendants McKinney, Brooks, and Headrick have filed motions to partially stay discovery in

this case. ECFs 86, 88, 92. This Court ordered Plaintiff to respond to these motions by April 25, 2025

(the day of this filing). At approximately 8:30 a.m. on the morning of April 25, 2025, undersigned

counsel learned of a death in her family. Accordingly, there is good cause to provide Plaintiffs with a

brief extension to finalize their responses to these motions. Undersigned counsel notified counsel for

Defendants at approximately 9 a.m. that she would be requesting this extension and inquired whether

there would be any objection but has not received any response.

        Plaintiffs respectfully request that the deadline be extended five days to April 30, 2025.

                                                        Respectfully submitted,


                                                        /s/ Sam Harton
                                                        One of Plaintiff’s Attorneys
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                                      CERTIFICATE OF SERVICE

       I hereby certify that on April 25, 2025, I electronically filed the foregoing with the Clerk of the

Court using the ECF system which sent notification of such filing to all counsel of record.




                                                        /s/ Sam Harton

                                                        Plaintiffs Attorneys

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